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6    Attorneys for Defendant Wilton Person
7                           IN THE UNITED STATES DISTRICT COURT
8                                        DISTRICT OF ARIZONA
9    Nexa Mortgage, LLC, an Arizona limited                 CASE NO. 2:23-cv-00410-SPL
10
     liability company,                                         DECLARATION OF
                                                               WILTON A. PERSON
11                          Plaintiff,                           IN SUPPORT OF
     v.                                                        MOTION TO DISMISS
12

13   Smart Mortgage Centers, Inc., an Illinois
     for-profit corporation; and Wilton A.
14   Person,
                         Defendants.
15

16          Pursuant to 28 U.S.C. §1746, Wilton A. Person declares:
17          1.      I am over 18 years of age. I would, if called, testify to the facts set forth herein
18   based upon first-hand knowledge.
19          2.      I am a citizen of the State of Illinois. I have been an Illinois resident
20   continuously from 2003 to the present. I have an Illinois driver’s license, am registered to
21   vote in Illinois and file Illinois state tax returns. Illinois is also my domicile. I have no
22   present intention to move from Illinois.
23          3.      I am not now, and never have been, an Arizona citizen. I own no real property
24   in Arizona. I have never even been to Arizona.
25          4.      I am a member of the Illinois Bar. I became a member in 2006. I am not now,
26   and never have been, a member of the Arizona Bar.
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